






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00401-CR







Ramon Sifuentes Rosales, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BASTROP COUNTY, 21ST JUDICIAL DISTRICT


NO. 11,059, HONORABLE TERRY L. FLENNIKEN, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



A jury found appellant Ramon Sifuentes Rosales guilty of aggravated sexual assault
of a child.  See Tex. Penal Code Ann. § 22.021 (West Supp. 2006).  The jury assessed punishment
at life in prison and a $10,000 fine.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's brief and was advised of his right
to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The judgment of conviction is affirmed.



				___________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Henson

Affirmed

Filed:   March 13, 2007

Do Not Publish


